   Case 3:21-cv-00242-WBV-SDJ   Document 114-2    11/08/21 Page 1 of 30




                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

 ABBY OWENS, ET AL.                   CIVIL ACTION NO.: 3:21-cv-00242

                  Plaintiffs,         SECTION

 VERSUS                               JUDGE VITTER

 LOUISIANA STATE UNIVERSITY, et al.   MAGISTRATE JUDGE JOHNSON

                  Defendants.         ORAL ARGUMENT REQUESTED




DEFENDANT TIGER ATHLETIC FOUNDATION’S MEMORANDUM IN SUPPORT
     OF RULE 12(b)(6) MOTION TO DISMISS RACKETEERING CLAIMS




                                      Judy Y. Barrasso, 02814
                                      Laurence D. LeSueur, 35206
                                      Chloé M. Chetta, 37070
                                      Lance W. Waters, 37351
                                      Barrasso Usdin Kupperman
                                        Freeman & Sarver, L.L.C.
                                      909 Poydras Street, Suite 2350
                                      New Orleans, LA 70112
                                      Telephone: (504) 589-9700
                                      Facsimile: (504) 589-9701
                                      jbarrasso@barrassousdin.com
                                      llesueur@barrassousdin.com
                                      cchetta@barrassousdin.com
                                      lwaters@barrassousdin.com

                                      Counsel for Tiger Athletic Foundation
           Case 3:21-cv-00242-WBV-SDJ                         Document 114-2                 11/08/21 Page 2 of 30




                                                  TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i
TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................1
STANDARD OF REVIEW .............................................................................................................5
LAW AND ARGUMENT ...............................................................................................................6
     I.         TAF cannot be liable under the Louisiana Racketeering Act
                because plaintiffs have not alleged that TAF engaged in
                narrowly defined “racketeering activity” .......................................................................7
                A.        Plaintiffs’ corrupt influencing claim does not validly or
                          plausibly allege TAF engaged in criminal activity ............................................8
                B.        Plaintiffs’ public intimidation claim fails because mere
                          threats of economic harm are insufficient; and regardless,
                          plaintiffs do not allege TAF threatened anyone ...............................................10
                C.        Plaintiffs’ intimidating witnesses claim fails because
                          they never allege TAF threatened force against or
                          injured witnesses in their person or property ...................................................11
                D.        Plaintiffs’ public records claims against TAF fail
                          because TAF, a private entity, neither “injured” public
                          records nor maintained false public records ....................................................12
                E.        Plaintiffs’ money laundering claims against TAF fail
                          because, though plaintiffs try to allege TAF gave private
                          donor funds “to the enterprise,” plaintiffs do not allege
                          TAF “derived” proceeds from any criminal activity .......................................14
     II.        Plaintiffs have not alleged TAF engaged in an actionable
                “pattern” of racketeering ..............................................................................................15
     III.       Plaintiffs fail to allege cognizable injuries caused “by reason
                of” the alleged violations of § 15:1353(A), (B), or (C) ...............................................18
     IV.        Plaintiffs’ claims based on predicate acts before April 26,
                2016, and Sarah Beth Kitch’s individual claim are prescribed ....................................23
CONCLUSION ..............................................................................................................................24




                                                                     i
        Case 3:21-cv-00242-WBV-SDJ                             Document 114-2                11/08/21 Page 3 of 30




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
Cases

Ames v. Ohle,
 97 So. 3d 386 (La. App. 4th Cir. 2012) ..................................................................................... 24
Anza v. Ideal Steel Supply Corp.,
 547 U.S. 451 (2006) ............................................................................................................ 19, 20
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ................................................................................................................ 4, 5
Assoc. Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters,
  459 U.S. 519 (1983) .................................................................................................................. 19
Bast v. Cohen, Dunn & Sinclair, PC,
 59 F.3d 492 (4th Cir. 1995) ....................................................................................................... 22
Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ................................................................................................................ 4, 5
CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc.,
 2019 WL 2865256 (La. App. 1st Cir.) .................................................................................... 6, 7
Chimm v. Univ. of Tex. at Austin,
 836 F.3d 467 (5th Cir. 2016) ....................................................................................................... 5
Cox, Cox, Filo, Camel & Wilson, LLC v. Sasol N. Am., Inc.,
 2013 WL 4516007 (W.D. La. Aug. 22, 2013) ........................................................................... 22
Cox, Cox, Filo, Camel & Wilson, LLC v. Sasol N. Am., Inc.,
 544 F. App’x 455 (5th Cir. 2013) .............................................................................................. 21
Crowe v. Henry,
 43 F.3d 198 (5th Cir. 1995) ....................................................................................................... 20
Davis-Lynch, Inc. v. Moreno,
 667 F.3d 539 (5th Cir. 2012) ..................................................................................................... 20
Doe v. Roe,
 958 F.2d 763 (7th Cir. 1992) ..................................................................................................... 22
ePlus Tech., Inc. v. Aboud,
  313 F.3d 166 (4th Cir. 2002) ..................................................................................................... 15
Farmer v. D&O Contractors, Inc.,
 640 F. App’x 302 (5th Cir. 2016) .......................................................................................... 6, 23
Grogan v. Platt,
 835 F.2d 844 (11th Cir. 1988) ................................................................................................... 22




                                                                    ii
        Case 3:21-cv-00242-WBV-SDJ                             Document 114-2                11/08/21 Page 4 of 30




Gucwa v. Lawley,
 731 F. App’x 408 (6th Cir. 2018) .............................................................................................. 22
H.J. Inc. v. Nw. Bell Tel. Co.,
 492 U.S. 229 (1989) .................................................................................................................. 15
Holmes v. Securities Investor Protection Corp.,
  503 U.S. 258 (1992) ............................................................................................................. 18, 19
Hamm v. Rhone-Poulenc Rorer Pharms., Inc.,
 187 F.3d 941 (8th Cir. 1999) ..................................................................................................... 22
Hughes v. Tobacco Inst., Inc.,
 278 F.3d 417 (5th Cir. 2001) ..................................................................................................... 22
Jarecki v. G. D. Searle & Co.,
  367 U.S. 303 (1961) .................................................................................................................. 10
Joseph v. Bach & Wasserman, L.L.C.,
  487 F. App'x 173 (5th Cir. 2012) .............................................................................................. 24
Landry v. Airline Pilots Ass’n Int’l AFL-CIO,
  892 F.2d 1238 (5th Cir. 1990) ................................................................................................... 21
Malvino v. Delluniversita,
 840 F.3d 223 (5th Cir. 2016) ..................................................................................................... 16
McKay v. State ex rel. Div. of Admin.,
 143 So. 3d 510 (La. App. 1st Cir. 2014) ................................................................................... 17
Molina-Aranda v. Black Magic Enterprises, L.L.C.,
 983 F.3d 779 (5th Cir. 2020) ................................................................................................. 5, 19
N. Cypress Med. Ctr. Operating Co. v. Cigna Healthcare,
  781 F.3d 182 (5th Cir. 2015) ............................................................................................... 18, 20
Poloceno v. Dallas Indep. Sch. Dist.,
 826 F. App’x 359 (5th Cir. 2020) ................................................................................................ 3
Price v. Pinnacle Brands, Inc.,
  138 F.3d 602 (5th Cir. 1998) ....................................................................................................... 6
PSKS, Inc. v. Leegin Creative Leather Prods., Inc.,
 615 F.3d 412 (5th Cir. 2010) ....................................................................................................... 5
Quadvest, L.P. v. San Jacinto River Auth.,
 7 F. 4th 337 (5th Cir. 2021) ......................................................................................................... 9
Reiter v. Sonotone Corp.,
  442 U.S. 330 (1979) .................................................................................................................. 22
Rigney v. Dep't of Police,
  10 So. 3d 861 (La. App. 4th Cir. 2009) ..................................................................................... 13
Seals v. McBee,
  898 F.3d 587 (5th Cir. 2018) ..................................................................................................... 10


                                                                    iii
        Case 3:21-cv-00242-WBV-SDJ                             Document 114-2                11/08/21 Page 5 of 30




Sedima, S.P.R.L. v. Imrex Co.,
  473 U.S. 479 (1985) ........................................................................................................ 7, 16, 21
Snow Ingredients, Inc. v. SnoWizard, Inc.,
  833 F.3d 512 (5th Cir. 2016) ....................................................................................................... 7
St. Germain v. Howard,
  556 F.3d 261 (5th Cir. 2009) ....................................................................................................... 7
St. Paul Mercury Ins. Co. v. Williamson,
  224 F.3d 425 (5th Cir. 2000) ....................................................................................................... 6
Standard Oil Co. of Cal.,
  405 U.S. 251 (1972) .................................................................................................................. 22
State v. Fraley,
  512 So. 2d 856 (La. 1987) ......................................................................................................... 13
State v. Nine Sav. Accts.,
  553 So. 2d 823 (La. 1989) ........................................................................................................... 6
State v. Touchet,
  759 So. 2d 194 (La. App. 3d Cir. 2000) ...................................................................................... 6
Stokeling v. United States,
  139 S. Ct. 544 (2019)................................................................................................................. 11
Swindol v. Aurora Flight Sciences Corp.,
  805 F.3d 516 (5th Cir. 2015) ..................................................................................................... 16
Tel-Phonic Servs., Inc. v. TBS Int'l, Inc.,
  975 F.2d 1134 (5th Cir. 1992) ..................................................................................................... 5
Toress v. S.G.E. Mgmt., L.L.C.,
  838 F. 3d 629 (5th Cir. 2016) .................................................................................................... 19
U.S. ex rel. Rafizadeh v. Cont'l Common, Inc.,
 553 F.3d 869 (5th Cir. 2008) ....................................................................................................... 5
United States ex rel. Hendrickson v. Bank of Am., N.A.,
 779 F. App’x 250 (5th Cir. 2019) ................................................................................................ 5
United States ex rel. Integra Med Analytics, L.L.C. v. Baylor Scott &
 White Health,
 816 F. App’x 892 (5th Cir. 2020) ................................................................................................ 4
Viking Constr. Grp., LLC v. Satterfield & Pontikes Constr. Grp. Inc.,
  2018 WL 401182 (E.D. La. Jan. 12, 2018) .......................................................................... 21, 23
Viking Constr. Grp., LLC v. Satterfield & Pontikes Constr. Grp. Inc.,
  728 F. App’x 405 (5th Cir. 2018) .............................................................................................. 21
Walker v. Beaumont Indep. Sch. Dist.,
 938 F.3d 724 (5th Cir. 2019) ....................................................................................................... 2



                                                                    iv
         Case 3:21-cv-00242-WBV-SDJ                              Document 114-2                  11/08/21 Page 6 of 30




Whitaker v. Collier,
 862 F.3d 490 (5th Cir. 2017) ....................................................................................................... 6
Word of Faith World Outreach Ctr. Church, Inc. v. Sawyer,
 90 F.3d 118 (5th Cir. 1996) ................................................................................................. 15, 16

Statutes

18 U.S.C. § 1961 ............................................................................................................................. 6
18 U.S.C. §1964 ...................................................................................................................... 18, 22
La. Stat. § 14:120 ............................................................................................................................ 8
La. Stat. § 14:122 .................................................................................................................. 8, 9, 10
La. Stat. § 14:129.1 ............................................................................................................. 8, 11, 12
La. Stat. § 14:132 .................................................................................................................... 12, 13
La. Stat. § 14:133 ...................................................................................................................... 8, 13
La. Stat. § 15:135 ............................................................................................................................ 7
La. Stat. § 14:230 ...................................................................................................................... 8, 14
La. Stat. § 15:1352 ........................................................................................................................ 15
La. Stat. § 15:1353 .................................................................................................................. 19, 20
La. Stat. § 15:1356 .................................................................................................................. 18, 23
La. Stat. § 17:3390 ................................................................................................................ 3, 9, 14




                                                                       v
      Case 3:21-cv-00242-WBV-SDJ             Document 114-2        11/08/21 Page 7 of 30




                                       INTRODUCTION

       Tiger Athletic Foundation (TAF) seeks dismissal of plaintiffs’ implausible racketeering

claim. In this Title IX lawsuit against LSU, because TAF has no legal duties or responsibilities

under Title IX, plaintiffs insist on trying to fit a square peg in a round hole by accusing TAF of

criminal racketeering. Plaintiffs have filed two complaints full of legal conclusions and

impermissible group pleading and continued to press both legally and factually deficient theories

of liability in their court-ordered racketeering case statement. Plaintiffs have not—and consistent

with their Rule 11 good-faith obligation, cannot—identify any person at TAF who supposedly

engaged in any criminal conduct.

       Plaintiffs’ bald characterizations of TAF as a criminal mastermind responsible for forcibly

silencing sexual misconduct victims, laundering dirty money, and corrupting public employees

across the state make no sense, stretch Rule 12(b)(6)’s plausibility standard beyond recognition,

and torture the text of the Louisiana Racketeering Act and state criminal laws. As plaintiffs’ scant

allegations reveal, TAF did not commit a single crime. The racketeering claim must be dismissed.

                                        BACKGROUND

       This Title IX case arises out of LSU’s alleged failure to maintain an adequate reporting,

investigation, and disciplinary system for sexual misconduct complaints.

       After a widely reported news article identified former LSU students who were sexually

victimized on campus, LSU hired Husch Blackwell LLP to comprehensively investigate how it

handles “Title IX-related incidents.”1 Husch Blackwell spent months interviewing employees,

students, and alumni and reviewing university policies, training materials, internal




1
       R. Doc. 22-1 at 3.

                                                 1
      Case 3:21-cv-00242-WBV-SDJ                Document 114-2           11/08/21 Page 8 of 30




communications, and other documents.2 Husch Blackwell concluded its investigation with a 262-

page single-spaced report identifying specific failures and wrongdoers at LSU and outlining 18

overarching recommendations to “provide the University with a road map for correcting [the]

problems identified . . . . [and] to create a [Title IX] system that all members of the University

community can have confidence in.”3 Plaintiffs base their lawsuit on this report.4

       Plaintiffs are ten former students who allegedly experienced varying types of actionable

sex discrimination under Title IX.5 The defendants include LSU, its Board of Supervisors, and

fifteen former or current employees, ranging from top officials like the former university president

and former athletic director to lower-level employees who interacted directly with students.6

Plaintiffs allege five claims arising under Title IX against these state defendants and twelve

supplemental claims (for the same injuries and damages) that specifically depend on LSU’s

claimed violations of Title IX.7

       TAF, however, is a legislatively favored private, nonprofit corporation.8 It is not a federally




2
       Id. at 3–5.
3
       Id. at 139.
4
       Plaintiffs’ first amended complaint attaches and incorporates by reference the Husch Blackwell
       Report, so “the court may . . . properly consider those documents” in resolving this motion to
       dismiss. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 735 (5th Cir. 2019).
5
       See generally R. Doc. 22 at ¶ 2.
6
       Id. at ¶¶ 30–48.
7
       For example, plaintiffs allege that every defendant was negligent in “failing to report [students’]
       disclosures of sexual misconduct to LSU’s Title IX Office”; “failing to properly investigate
       [students’] reports of sexual misconduct”; “failing to follow LSU policies in reviewing,
       investigating, and resolving complaints of sexual misconduct pursuant to Title IX”; “failing to
       ensure LSU implemented its Title IX Policy”; “failure to follow through with imposed discipline
       following Title IX investigations”; “failing to inform students of their Title IX rights”; and “failing
       to discipline employees in violation of LSU’s Title IX Policy.” R. Doc. 22 at ¶ 483.
8
       La. Stat. § 17:3390.


                                                     2
      Case 3:21-cv-00242-WBV-SDJ              Document 114-2         11/08/21 Page 9 of 30




funded “educational institution” and is thus not subject to Title IX.9 But plaintiffs “belie[ve] TAF

has over $400 million dollars [sic] in total assets.”10 So to shoehorn a private corporation without

Title IX obligations into this Title IX case, plaintiffs allege TAF must have led LSU in a years-

long, pervasive racketeering conspiracy that forcibly silenced victims, laundered dirty money from

alumni donors, and corrupted public officials across the state and is thus liable for the same

monetary damages plaintiffs seek from LSU, plus punitives, costs, and attorneys’ fees.11

       Yet no prosecutor has reached this conclusion. And neither did Husch Blackwell. In fact,

though Husch Blackwell identifies by name certain LSU administrators, Athletic Department

employees, and campus police officers whose ignorance of their Title IX obligations created a

system that failed to meaningfully respond to Title IX complaints, Husch Blackwell does not

identify TAF or any TAF employee among them as a potentially bad actor.12 When TAF does

come up, Husch Blackwell lauds a 77-page consulting report that TAF paid for as “replete with

solid recommendations on various topics,” including Title IX training for student-athletes, LSU’s

Title IX policy, and the on-campus reporting and investigation process.13

       And plaintiffs’ theory of racketeering liability—that TAF encouraged LSU to favor

student-athletes in the Title IX process for financial gain—is directly undermined by Husch

Blackwell’s ultimate conclusions:

               [T]he suggestion that LSU student athletes in the Title IX process
               are getting special treatment is simply not supported . . . . There is
               also no evidence that anyone in a leadership position within the
               University has put any sort of pressure on the Title IX Office or

9
       See generally Poloceno v. Dallas Indep. Sch. Dist., 826 F. App’x 359, 362 (5th Cir. 2020) (“Title
       IX prohibits sex discrimination by recipients of federal education funding.”).
10
       R. Doc. 22 at ¶ 32.
11
       Id. at ¶¶ 553–80.
12
       See generally R. Doc. 22-1.
13
       R. Doc. 22-1 at 39–40 (emphasis added).


                                                  3
     Case 3:21-cv-00242-WBV-SDJ               Document 114-2         11/08/21 Page 10 of 30




                   otherwise to reach conclusions favorable to prominent student
                   athletes.14

Importantly too, plaintiffs represent that their claims depend on this report because they did not

know that LSU and its employees were responsible for the injuries they personally suffered until

Husch Blackwell published its report.15 Plaintiffs now ask the court to believe this report permits

them to accuse TAF of (1) “funding an inadequate Title IX training” to “intimidate[] witnesses”

—a fact nowhere in the report;16 (2) corruptly influencing certain LSU employees with “incentive-

based” and “other [unidentified] compensation”—another fact nowhere in the report;17 and (3)

doling out “private cell phones . . . [to] conceal[] information from public records requests”—yet

another fact nowhere in the report.18

       But the United States Supreme Court and Fifth Circuit are clear that, between allegations

of “purposeful, invidious” conduct and an “obvious alternative explanation,” courts must reject

the former as implausible and dismiss the associated claim under Rule 12(b)(6).19 Plaintiffs’ claim

that TAF is the chief racketeer in a massive, years-long conspiracy—that no one else has ever

identified—is implausible, unsupported by any specific allegation, and should be dismissed.




14
       Id. at 144–45.
15
       See, e.g., R. Doc. 22 at ¶ 154.
16
       R. Doc. 103 at 3.
17
       E.g., id.
18
       E.g., id. at 3–4.
19
       Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 567
       (2007)); see also United States ex rel. Integra Med Analytics, L.L.C. v. Baylor Scott & White
       Health, 816 F. App’x 892, 897 (5th Cir. 2020) (“A claim is . . . not plausible if the facts pleaded
       are consistent with both the claimed misconduct and a legal and ‘obvious alternative
       explanation.’”).


                                                   4
     Case 3:21-cv-00242-WBV-SDJ                Document 114-2          11/08/21 Page 11 of 30




                                     STANDARD OF REVIEW

        To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead facts “stat[ing] a claim

to relief that is plausible on its face.”20 A claim is facially plausible only if its allegations allow the

court to “draw the reasonable inference that the defendant is liable for the misconduct alleged.”21

Allegations must show “more than a sheer possibility that [the] defendant has acted unlawfully.”22

Though courts accept well-pleaded facts as true, courts cannot “credit conclusory allegations or

allegations that merely restate the legal elements of a claim.”23

        In a racketeering case founded on fraud-based predicate acts, a plaintiff must abide by Rule

9(b)’s heightened pleading requirements and plausibly plead fraud with particularity.24 The

plaintiff must allege “the ‘who, what, when, where, and how of the alleged fraud.’”25 Any “fail[ure]

to distinguish among defendants or present necessary details” warrants dismissal.26

        The Supreme Court instructs that, on a Rule 12(b)(6) motion, “[i]t is no answer to say that

a claim just shy of a plausible entitlement to relief can, if groundless, be weeded out early in the

discovery process through ‘careful case management.’”27 It must be dismissed.28 “Rule 8 . . . does

not unlock . . . discovery for a plaintiff armed with nothing more than conclusions.”29 The Fifth



20
        PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615 F.3d 412, 417 (5th Cir. 2010) (quoting
        Iqbal, 556 U.S. at 678).
21
        Iqbal, 556 U.S. at 678.
22
        Id.
23
        Chimm v. Univ. of Tex. at Austin, 836 F.3d 467, 469 (5th Cir. 2016) (citing Iqbal, 556 U.S. at 678).
24
        Molina-Aranda v. Black Magic Enterprises, L.L.C., 983 F.3d 779, 784 n.2 (5th Cir. 2020) (citing
        Tel-Phonic Servs., Inc. v. TBS Int'l, Inc., 975 F.2d 1134, 1138 (5th Cir. 1992)).
25
        U.S. ex rel. Rafizadeh v. Cont'l Common, Inc., 553 F.3d 869, 874 (5th Cir. 2008).
26
        United States ex rel. Hendrickson v. Bank of Am., N.A., 779 F. App’x 250, 252 (5th Cir. 2019).
27
        Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559 (2007).
28
        See id.
29
        Iqbal, 556 U.S. at 678.


                                                     5
     Case 3:21-cv-00242-WBV-SDJ                   Document 114-2            11/08/21 Page 12 of 30




Circuit agrees: “plaintiffs [ar]e not entitled to discovery without a properly pleaded complaint.”30

                                        LAW AND ARGUMENT

       Though enacted in 1983, civil jurisprudence interpreting the Louisiana Racketeering Act

is limited.31 But the Act is “patterned” or “modeled” after its federal counterpart,32 and the Fifth

Circuit considers the two statutes “analogous.”33 So even though plaintiffs are not pursuing a

federal racketeering claim, federal cases should continue to guide this court’s analysis.34

       To state a Louisiana Racketeering Act claim, plaintiff must sufficiently plead that the

defendant is “(1) a person who engages in (2) a pattern of racketeering activity (3) connected to

the acquisition, establishment, conduct, or control of an enterprise.”35 Even if these three elements

are met, the court must evaluate whether the plaintiff has adequately alleged the “substantive

requirements of each subsection” of § 15:1353 defining “prohibited activities.”36 And a civil

plaintiff seeking money damages must sufficiently plead injury and causation as well.37 Failure to

adequately plead any one of these is fatal to the claim.

       Applying both state and federal authority, plaintiffs do not allege a valid racketeering claim

against TAF because TAF did not engage in any “racketeering activity,” plaintiffs fail to allege a


30
       Whitaker v. Collier, 862 F.3d 490, 502 (5th Cir. 2017).
31
       State v. Touchet, 759 So. 2d 194, 197 (La. App. 3d Cir. 2000) (noting “[t]here is little Louisiana
       jurisprudence regarding [the Louisiana racketeering] statute”).
32
       State v. Nine Sav. Accts., 553 So. 2d 823, 825 (La. 1989) (“Because Act 727 was apparently
       patterned after 18 U.S.C. § 1961 et seq. . . . federal decisions in this area are persuasive.”).
33
       Farmer v. D&O Contractors, Inc., 640 F. App’x 302, 304 (5th Cir. 2016).
34
       See Nine Sav. Accts., 533 So. 2d at 825.
35
       CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc., No. 19-0745, 2019 WL 2865256, at *4 (La. App.
       1st Cir.), writ denied, 282 So. 3d 1069 (La. 2019) (quoting St. Paul Mercury Ins. Co. v. Williamson,
       224 F.3d 425, 439 (5th Cir. 2000)).
36
       Id.
37
       Price v. Pinnacle Brands, Inc., 138 F.3d 602, 606 (5th Cir. 1998).


                                                       6
     Case 3:21-cv-00242-WBV-SDJ               Document 114-2          11/08/21 Page 13 of 30




valid “pattern,” plaintiffs fail to allege actionable injuries, and some of plaintiffs’ claims are

prescribed. Plaintiffs also overarchingly fail to plead any of the underlying conduct with

particularity—lacking the basic “who, what, when, and where” components of their claims against

TAF or failing to identify anyone at TAF acting criminally on its behalf.

I.     TAF cannot be liable under the Louisiana Racketeering Act because plaintiffs have
       not alleged that TAF engaged in narrowly defined “racketeering activity.”

       The Louisiana Racketeering Act provides a cause of action against “any person engaged

in racketeering activity who violates a provision of 15:1353.”38 In other words, a defendant cannot

be liable under the Act “unless that defendant has engaged in . . . criminal conduct.”39 Allegations

that a defendant generally profited or otherwise benefited from racketeering activity are

insufficient.40 Thus, potential liability does “not exist unless the pleadings allege actual criminal

activity” by a specific defendant,41 and a complaint that does not adequately allege the underlying

criminal acts cannot survive a motion to dismiss.42

       Here, plaintiffs try to build a racketeering claim by group pleading that every defendant

either “commit[ed], attempt[ed] to commit, conspire[ed] to commit, or solicit[ed], coerc[ed], or




38
       La. Stat. § 15:135 (emphasis added).
39
       CamSoft Data, 2019 WL 2865256, at *4 (collecting cases); see also Sedima, S.P.R.L. v. Imrex Co.,
       473 U.S. 479, 488 (1985) (“As defined in the statute, racketeering activity consists not of acts for
       which the defendant has been convicted, but of acts for which he could be.”).
40
       CamSoft Data, 2019 WL 2865256, at *4.
41
       Snow Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 525 (5th Cir. 2016) (“[C]ivil-RICO
       liability should not exist unless the pleadings allege actual criminal activity.”).
42
       St. Germain v. Howard, 556 F.3d 261, 263 (5th Cir. 2009) (“Appellants have still not sufficiently
       pled the predicate acts . . . and are unable to show that they were injured by a violation of RICO.
       The district court's dismissal of the RICO claims under Rule 12(b)(6) was therefore ultimately
       proper.”).


                                                    7
      Case 3:21-cv-00242-WBV-SDJ             Document 114-2         11/08/21 Page 14 of 30




intimidate[ed] another person to commit”43 five crimes: (A) corrupt influencing (La. Stat.

§ 14:120); (B) public intimidation and retaliation (La. Stat. § 14:122); (C) intimidating, impeding

or injuring witnesses (La. Stat § 14:129.1); (D) injuring public records (La. Stat. § 14:132) or filing

or maintaining false public records (La. Stat. § 14:133); or (E) money laundering (La. Stat.

§ 14:230). But plaintiffs fail to include any specificity as to TAF by omitting any reference to a

person at TAF who actually engaged in criminal conduct. More importantly, the acts plaintiffs

complain TAF committed do not violate any of these criminal statutes and cannot serve as a

predicate for a civil racketeering claim.

     A. Plaintiffs’ corrupt influencing claim does not validly or plausibly allege TAF engaged
        in criminal activity.

        “[C]orrupt influencing is the giving or offering to give anything of apparent . . . value

to . . . any person, with the intention that the recipient shall corruptly influence the conduct of any

[public employee] in relation to such person’s position, employment, or duty.”44

        To start, plaintiffs concede they never allege corrupt influencing in their complaint but

manufactured this claim only after being ordered to provide a more specific case statement.45 Now,

plaintiffs argue TAF “gave bonuses and incentive-based payments” to certain public employees to

“prioritize game wins . . . over their Title IX reporting requirements” and supposedly paid for

Athletic Department training that influenced unidentified “LSU Responsible Employees” to

“conceal reports of Sexual Misconduct and intimidate witnesses.”46 That argument is not sufficient

to state a corrupt influencing claim. Plaintiffs nowhere allege that any person acting on TAF’s




43
        R. Doc. 103 at 3 n.4.
44
        La. Stat. § 14:120(A).
45
        R. Doc. 103 at 55 n.39.
46
        Id. at 56–57.


                                                  8
      Case 3:21-cv-00242-WBV-SDJ                 Document 114-2           11/08/21 Page 15 of 30




intended to corruptly influence anyone. To the contrary, the Husch Blackwell report finds “no

evidence that anyone . . . put any sort of pressure on the Title IX Office or otherwise to . . .

favor[] . . . student athletes,”47 directly contradicting—and thus superseding—plaintiffs’ factually

untethered and implausible accusations.48 Coach Orgeron’s football contract, likewise belies any

such allegations because it reveals he could be paid for “services rendered . . . directly to [TAF].”49

Rather than “services rendered” meaning forcibly silencing victims or falsifying public records,

an “obvious alternative explanation” is that TAF may pay Coach Orgeron for participating in

fundraising events for the private, nonprofit corporation the Louisiana legislature specifically

encourages to fundraise for the state’s largest university.50

     B. Plaintiffs’ public intimidation claim fails because mere threats of economic harm are
        insufficient; and regardless, plaintiffs do not allege TAF threatened anyone.

        “[P]ublic intimidation is the use of violence, force, extortionate threats, or true threats upon

any [public employee], with the intent to influence his conduct in relation to his position,

employment, or duty.”51 Plaintiffs concede that “violence, force, . . . or true threats” (which also




47
        R. Doc. 22-1 at 144–45.
        The Husch Blackwell report also says nothing about TAF funding “purposefully deficient Title IX
        training,” as plaintiffs allege. R. Doc. 22 at ¶ 10. Rather, the report states an outside consultant
        tasked with addressing “NCAA compliance, student-athlete wellness and abuse, and other [non-
        Title IX] ethical concerns specific to athletics operations . . . reasonably relied on policies and
        information shared by Athletics administration,” not TAF. R. Doc. 22-1 at 32–33.
48
        Quadvest, L.P. v. San Jacinto River Auth., 7 F. 4th 337, 345 (5th Cir. 2021) (“If an attached exhibit
        contradicts a factual allegation in the complaint, then indeed the exhibit and not the allegation
        controls.” (collecting cases)).
49
        R. Doc. 22-2 at 8.
50
        La. Stat. § 17:3390(B)(3) (“The corporation reimburses, either directly or through in-kind services,
        the cost of housing, personnel, which personnel shall remain public servants for all purposes, and
        other support furnished to the corporation by any institution . . . if any such support is furnished.”).
51
        La. Stat. § 14:122(A)(1). Though plaintiffs use “retaliation” in this section of their case statement,
        see R. Doc. 103 at 40–41, they cannot mean to invoke “public . . . retaliation” as defined in
        § 14:122(B). That requires the “use of violence, force, extortionate threats, or true threats upon [an


                                                      9
     Case 3:21-cv-00242-WBV-SDJ                  Document 114-2           11/08/21 Page 16 of 30




requires violent intent) do not apply here.52 “Extortionate threats” means “communicat[ing] an

unlawful threat to harm another person with the intention to obtain anything of value or any . . .

advantage [that] the person would not otherwise be able to lawfully secure . . . from the victim.”53

       Though § 14:122 does not define “harm another person,” the plain meaning is “material or

tangible” “injury . . . or damage.”54 Reading this definition against the statute’s surrounding

terminology—–violence, force, and violence again—reveals § 14:122 prohibits only threats of

physical injury. Read any other way, the statute is unconstitutionally overbroad and unenforceable,

as the Fifth Circuit held in Seals v. McBee.55 Indeed, as the Supreme Court explains, the maxim

“that a word is known by the company it keeps . . . is often wisely applied . . . to avoid [] giving []

unintended breadth to [] Acts of Congress.”56 Plaintiffs do not allege TAF (or anyone else)

threatened a public employee with physical injury and thus cannot maintain a racketeering claim

based on § 14:122 as a predicate act.

       Even if some vaguer harm were actionable—contrary to Seals—plaintiffs fail to specify

how TAF is involved.57 They allege “participants . . . threatened [unidentified] public employees

with harm in the form of adverse employment consequences such as [unidentified] Retaliation and




       elected official]” if “[t]he violence, force, or threat is related to the [official’s] duties” or “[i]s in
       retaliation or retribution for actions taken by the elected official as part of his official duties.” Id.
52
       See R. Doc. 103 at 40 n.28.
53
       La. Stat. § 14:122(C)(1) (emphasis added).
54
       Harm, Black’s Law Dictionary (11th ed. 2019).
55
       Seals v. McBee, 898 F.3d 587 (5th Cir. 2018). In Seals, the Fifth Circuit interpreted an earlier
       version of the statute criminalizing the “use of violence, force, or threats” against public employees.
       Even narrowly defining “threats” to mean any “statement of an intention to inflict pain, injury,
       damage, or other hostile action on someone,” the Fifth Circuit found this definition “easily”
       encompassed lawful threats of “harm or injury to the character of [a] person.” Id. at 594, 595. Thus,
       the statute was facially overbroad, unconstitutional, and unenforceable. Id. at 598, 600.
56
       Jarecki v. G. D. Searle & Co., 367 U.S. 303, 307 (1961).
57
       See R. Doc. 103 at 40–41.


                                                      10
      Case 3:21-cv-00242-WBV-SDJ               Document 114-2         11/08/21 Page 17 of 30




[unidentified] economic loss” to dissuade them from complying with “federal law and LSU’s Title

IX Policy.”58 But the only allegation against TAF is its supposed “bonus or incentive payments to

public employees.”59 TAF’s giving a public employee something of value is different from

threatening a public employee to receive something valuable from the threatened employee.60

     C. Plaintiffs’ intimidating witnesses claim fails because they never allege TAF
        threatened force against or injured witnesses in their person or property.

        Revised Statute § 14:129.1(A) prohibits any person from “intentionally” either (1)

intimidating or impeding “by threat of force or force” a witness “with intent to influence . . . h[er]

reporting of criminal conduct” or (2) injuring or trying to injure a witness “in h[er] person or

property . . . with intent to influence . . . h[er] reporting of criminal conduct.”61

        The statute does not define “force” under subsection (A)(1), but its plain meaning (as in,

“excessive force” or “deadly force”) requires physical force.62 Plaintiffs do not allege TAF (or

anyone else) physically forced them to do anything, so they cannot state a racketeering claim based

on § 14:129.1(A)(1) as a predicate act.63 Though Jane Doe alleges she “was forced” to participate

in four Title IX interviews, even if this qualified as criminal “force,” Doe alleges nothing against

TAF.64 Neither she nor her harasser was a student-athlete, and Doe never alleges the Athletic




58
        Id.
59
        See id. at 41.
60
        See id.
61
        La. Stat § 14:129.1(A) (emphasis added).
62
        See generally Stokeling v. United States, 139 S. Ct. 544, 551 (2019) (noting “[t]he overlap between
        ‘force’ and ‘violence’” and that “force” typically means “power, violence, or pressure directed
        against a person or thing”).
63
        See R. Doc. 103 at 42–46.
64
        Id. at 46.


                                                   11
      Case 3:21-cv-00242-WBV-SDJ                 Document 114-2      11/08/21 Page 18 of 30




Department or TAF knew about her mistreatment (or that TAF knew anything about her

dissatisfaction with her confidential Title IX proceeding).65

        Under subsection (A)(2) “injury . . . in [someone’s] person” similarly conveys a tangible,

physical injury. Plaintiffs’ allegations of “witness intimidation” sweep far too broadly. For

example, though defendants Stewart and Soil-Cormier’s “laugh[ing] at” one victim and defendant

Sanders’s “inappropriate[ly] and unnecessary[ily]” questioning another may be rude, it is not a

crime.66 And plaintiffs still fail to allege TAF took any of these actions. Here, again, plaintiffs

contend that TAF “created and implemented” inadequate Title IX training—but these allegations,

even if true, do not constitute criminal intimidation of a witness. Plus, these allegations are

contradicted by federal law establishing TAF has no Title IX obligations and the Husch Blackwell

report and therefore should not be considered. Because TAF has not injured or forcibly intimidated

(or tried to do either to) any plaintiffs, they cannot state a racketeering claim with § 14:129.1(A)(1)

or (2) as a predicate act.

     D. Plaintiffs’ public records claims against TAF fail because TAF, a private entity,
        neither “injured” public records nor maintained false public records.

        Revised Statute § 14:132 criminalizes “injuring” public records by prohibiting the

“intentional removal, mutilation, destruction, alteration, falsification, or concealment of any

record, document, or other thing, filed or deposited, by authority of law, in any public office or

with any public officer.”67 The statute’s past tense “filed or deposited” means the record must have

been filed or deposited before the perpetrator took, destroyed, changed, or hid it.68 Plaintiffs allege




65
        See generally R. Doc. 22 at ¶¶ 302–21.
66
        R. Doc. 103 at 43, 44.
67
        La. Stat. § 14:132(A)–(B) (emphasis added).
68
        See 17 La. Civ. Law Treatise, Criminal Jury Instructions, §10:214.


                                                    12
     Case 3:21-cv-00242-WBV-SDJ                Document 114-2          11/08/21 Page 19 of 30




TAF tried to preemptively conceal public information by “providing [unidentified public

employees] private cell phones.”69 Even if this were true, the Louisiana Supreme Court holds

preemptive efforts to conceal public records do not violate § 14:132.70

       Revised Statute § 14:133(A) criminalizes maintaining “false” records by prohibiting

“maintaining as required by law, regulation, or rule, with knowledge of its falsity . . . (1) [a]ny

forged document[,] (2) [a]ny wrongfully altered document[,] or (3) [a]ny document containing a

false statement or false representation of a material fact.”71 Though TAF is a private corporation

not subject to Louisiana’s Public Records Act, plaintiffs allege from nothing that TAF

“intentionally trained [lower-ranking members of the racketeering enterprise] to keep . . . false and

misleading records.”72 Presumably, plaintiffs are again trying to rely on the Beebe Group’s athletic

department training in which Husch Blackwell found the consultant “reasonably relied on policies

and information shared by Athletics administration.”73 And though Husch Blackwell notes only

that this training may have “confused” students and employees about how to “report Title IX-

specific misconduct,”74 there is no suggestion, even among the specifically excerpted training




69
       R. Doc. 103 at 50.
70
       State v. Fraley, 512 So. 2d 856, 856 (La. 1987) (holding defendant “did not injure a public record”
       because he did not “falsify a record already filed or deposited . . .” (partial emphasis added)); see
       also Rigney v. Dep't of Police, 10 So. 3d 861, 866 (La. App. 4th Cir. 2009) (Tobias, J., concurring)
       (“[B]y implication, the statute requires that the concealment must take place after a record,
       document, or other thing has been deposited with the appropriate authority.”).
       For the same reason, plaintiffs’ footnote theory that “[b]ecause all LSU employees are required to
       report . . . sexual misconduct, every instance of non-reporting”—preemptive failure to create a
       record—“is an intentional injury to the public records” also fails. R. Doc. 103 at 47 n.36.
71
       La. Stat. § 14:133(A). Plaintiffs do not allege anyone “filed” or “deposited” false public records.
       See generally R. Doc. 103 at 50 & n.37.
72
       R. Doc. 103 at 48, 51.
73
       R. Doc. 22-1 at 33 (emphasis added).
74
       Id. at 32.


                                                   13
      Case 3:21-cv-00242-WBV-SDJ               Document 114-2         11/08/21 Page 20 of 30




slides, that employees were encouraged or expected to “falsify” records.75 Nor do plaintiffs allege

who at TAF allegedly “intentionally trained” LSU employees to falsify public records. Without

details, plaintiffs’ fantastical theories are not plausible allegations of criminal conduct, and their

racketeering claim based on public records crimes cannot stand.

     E. Plaintiffs’ money laundering claims against TAF fail because, though plaintiffs try to
        allege TAF gave private donor funds “to the enterprise,” plaintiffs do not allege TAF
        “derived” proceeds from any criminal activity.

        “Money laundering” is basically defined as “knowingly” transacting, transferring,

receiving, or maintaining “proceeds of a criminal activity” or “proceeds known to be derived from

criminal activity . . . [or] from any violation of criminal activity.”76 And “proceeds” means “funds

acquired or derived directly or indirectly from . . . an act.”77 The only “funds” TAF has access to

are the “private funds” it receives voluntarily from alumni or community donors.78

        Plaintiffs contend TAF derived millions “from intimidat[ing] witnesses and creat[ing] false

records” to build a football locker room and “hire inadequate Title IX training personnel.”79

Beyond plaintiffs’ failure to viably allege against TAF the fundamental crimes of intimidating

witnesses and falsifying public records, they don’t allege how funds were supposedly “derived

from” intimidating any witness or creating false public records.80 Unless plaintiffs are prepared to

argue that every TAF donor is a “knowing” racketeer and criminal conspirator in physically

intimidating witnesses and falsifying public records, plaintiffs’ argument cannot stand. Plaintiffs



75
        See id. at 32–34.
76
        La. Stat. § 14:230(B)(1)–(6) (emphasis added).
77
        La. Stat. § 14:230(A)(4) (emphasis added).
78
        See generally La. Stat. § 17:3390 (recognizing “private, nonprofit organizations that raise private
        funds for the support of public institutions of higher education”).
79
        R. Doc. 103 at 54.
80
        See generally id.


                                                     14
            Case 3:21-cv-00242-WBV-SDJ               Document 114-2            11/08/21 Page 21 of 30




      again allege TAF “paid for . . . cell phones, used to further the Enterprise by concealing

      communications from public records,”81 but still fail to explain how TAF “derived” proceeds from

      cell phone use, rather than from innocuous donations. Because plaintiffs cannot transform TAF’s

      legitimate fundraising into “laundered” criminal proceeds, this racketeering claim fails.

II.        Plaintiffs have not alleged TAF engaged in an actionable “pattern” of racketeering.

              Even if plaintiffs had sufficiently alleged TAF engaged in criminal predicate acts,

      Plaintiffs’ racketeering claims still fail because plaintiffs do not adequately allege TAF engaged

      in a “pattern of racketeering activity.”82 A “pattern” is “at least two incidents of racketeering

      activity that have the same or similar intents, results, principals, victims, or methods of commission

      or otherwise are interrelated by distinguishing characteristics and are not isolated incidents.”83 To

      establish a pattern, a plaintiff “must show that the racketeering predicates are related, and that they

      amount to or pose a threat of continued criminal activity.”84 This continuous pattern requirement

      aims to ensure that the “extraordinary remedy [of racketeering claims] does not threaten the

      ordinary run of commercial transactions.”85 As explained above, plaintiffs fail to allege that TAF

      committed a single act of “racketeering” under Louisiana’s criminal law, much less facts to

      sufficiently allege a threat of continued criminal activity.

              Continuity “may be shown by either a closed period of repeated conduct, or an open-ended

      period of conduct that ‘by its nature projects into the future with a threat of repetition.’”86




      81
              R. Doc. 103 at 54.
      82
              La. Stat. § 15:1352(C).
      83
              Id.
      84
              H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989).
      85
              ePlus Tech., Inc. v. Aboud, 313 F.3d 166, 181 (4th Cir. 2002).
      86
              Word of Faith World Outreach Ctr. Church, Inc. v. Sawyer, 90 F.3d 118, 122 (5th Cir. 1996).


                                                          15
     Case 3:21-cv-00242-WBV-SDJ               Document 114-2           11/08/21 Page 22 of 30




Plaintiffs’ claim must depend on a “closed period” because they do not plausibly allege a “threat

of repetition extending indefinitely into the future” or that the “predicates are a regular way of

conducting defendant’s ongoing legitimate business.”87 With Husch Blackwell’s publication of its

investigation report, LSU itself outed its Title IX practices and now regularly publishes “progress

reports” detailing its remedial efforts.88 Plaintiffs thus have no basis for contending supposedly

criminal conduct continues today. To prevail on a “closed period” claim, plaintiffs must show “a

series of related predicates extending over a substantial period of time.”89 Seven months of activity,

for example, is insufficient.90 And while the Supreme Court requires at least two acts of criminal

racketeering, “two acts . . . may not be sufficient.”91

       Here, even if the allegations showed TAF committed any predicate crime, the allegations

are sporadic and of undetermined duration, failing to show continuous racketeering activity. Both

plaintiffs’ complaint and racketeering case statement repeat these allegations (none of which is

racketeering activity):

            TAF compensated certain athletic employees at an unidentified time and for an
             unidentified duration.92




87
       Id.
88
       See, e.g., LSU, Title IX Progress, Progress on Husch Blackwell Recommendations (updated Oct.
       18, 2021), https://www.lsu.edu/titleix-review/docs/hb-progress-report.pdf (last visited Nov. 7,
       2021).
       The court may judicially notice this information contained on a state website. See generally Swindol
       v. Aurora Flight Sciences Corp., 805 F.3d 516, 519 (5th Cir. 2015) (taking judicial notice of public
       records available on official website).
89
       Word of Faith, 90 F.3d at 122.
90
       Malvino v. Delluniversita, 840 F.3d 223, 232 (5th Cir. 2016).
91
       Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 n.14 (1985).
92
       R. Doc. 22 at ¶ 96.


                                                   16
     Case 3:21-cv-00242-WBV-SDJ               Document 114-2          11/08/21 Page 23 of 30




          TAF once paid a consultant to conduct in-house Athletics Department training in
           2016.93

          TAF paid for unidentified athletic employees’ private cell phones at an unidentified
           time and for an unidentified duration.94

       Plaintiffs’ reliance on allegedly “private cell phones” is illuminating. While contending

TAF paid for cell phones so LSU could avoid its public record obligations, plaintiffs do not allege

that they have ever sent a public records request for cell phone records or that LSU failed to

produce responsive information because it was allegedly “private.”95 And if LSU had failed to

produce what plaintiffs contend is validly public information, that would be a basis for an public

records suit in Louisiana state court—not claims of criminal racketeering against TAF.96 Plaintiffs

themselves allege “Louisiana’s Public Records Law does not exempt any communications on the

basis of who pays for its means, and such communications would not be exempt from disclosure

under the law.”97 Thus, plaintiffs’ own internally inconstant allegations reveal the absurdity of

their argument that their failure to obtain public records through proper channels makes TAF a

criminal. Importantly too, not one of the plaintiffs alleges that LSU’s poor handling of their Title

IX claims stems from any athletic employee’s use of a phone.98 And Andries, Doe, Hovis, and

Kitch allege no relationship at all with a student-athlete or athletic employee.99




93
       Id. at ¶ 99.
94
       Id. at ¶ 100.
95
       See generally id.
96
       See generally McKay v. State ex rel. Div. of Admin., 143 So. 3d 510, 514, 517 (La. App. 1st Cir.
       2014) (affirming trial court’s conclusion that cell phone call records and text messages are validly
       public records).
97
       R. Doc. 22 at ¶ 100 n. 19.
98
       R. Doc. 22 at ¶¶ 110–352.
99
       Id. at ¶¶ 209–43, 302–21, 322–39, 340–52.


                                                   17
          Case 3:21-cv-00242-WBV-SDJ              Document 114-2        11/08/21 Page 24 of 30




            Plaintiffs’ reliance on one isolated incident of LSU’s hiring, and TAF’s paying for, a

   consultant to train Athletic Department employees is also misplaced because this does not

   constitute a pattern of racketeering activity. Though plaintiffs contend this one instance of training

   supposedly spawned a decades’ worth of criminal racketeering by other people, plaintiffs cannot

   point to any conduct by TAF. Accordingly, because plaintiffs have pleaded only sporadic and

   unrelated allegations against TAF, plaintiffs have failed to allege a cognizable pattern of

   racketeering activity.

III.     Plaintiffs fail to allege cognizable injuries caused “by reason of” the alleged violations of
         § 15:1353(A), (B), or (C).100

            Plaintiffs contend, without supporting authority, that unlike the federal RICO Act, the

   Louisiana Racketeering Act—specifically “modeled after” and “analogous to” the federal RICO

   statute—“provides a remedy for all injuries without limitation.”101 But the statutory text,

   interpretative caselaw, and common sense prove otherwise.

            Starting with the statutory text, § 15:1356(E) provides that “[a]ny person who is injured by

   reason of any violation of the provisions of R.S. 1353 shall have a cause of action.”102 The federal

   racketeering remedial provision similarly states, “[a]ny person injured in his business or property

   by reason of a violation of section 1962 . . . may sue therefor.”103 Interpreting only the phrase “by

   reason of” in Holmes v. Securities Investor Protection Corp., the Supreme Court succinctly

   rejected the exact argument plaintiffs make here and held that, for a plaintiff to prove an injury




   100
            Failing to properly plead a claim under subsections (A), (B), or (C) means plaintiffs
            correspondingly fail to properly plead a conspiracy claim under subsection (D). N. Cypress Med.
            Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182, 202 (5th Cir. 2015).
   101
            R. Doc. 80 at 8.
   102
            La. Stat. § 15:1356(E) (emphasis added).
   103
            18 U.S.C. §1964(c).


                                                       18
      Case 3:21-cv-00242-WBV-SDJ               Document 114-2          11/08/21 Page 25 of 30




“by reason of” a defendant’s violation of a substantive racketeering provision, the plaintiff must

prove that the violation proximately caused the plaintiff’s injury.104 The Court began by noting

“the very unlikelihood that Congress meant to allow all factually injured plaintiffs to recover[, so]

RICO should not get such an expansive reading.”105 The Court also considered “[t]he general

tendency of the law, in regard to damages at least, . . . not to go beyond the first step, ”106 aptly

warning that “[a]llowing suits by those injured only indirectly would open the door to massive and

complex damages litigation [that] would not only burden the courts, but would also undermine the

effectiveness of treble-damages suits.”107

        The Fifth Circuit naturally requires the same showing, holding that a plaintiff has a cause

action only if “she has been injured ‘by reason of’ a violation of RICO’s criminal prohibitions.”108

Citing Holmes, the Fifth Circuit “requires plaintiffs to establish both but-for cause and proximate

cause in order to show injury by reason of a RICO violation.”109 And proximate cause for RICO

violation injuries is not a “foreseeability” test; “instead, the plaintiff must demonstrate that the

alleged violation ‘led directly’ to the injuries.”110

        Because, like the federal racketeering statute, the Louisiana statute requires injuries to

occur “by reason of a violation of R.S. 15:1353,” the separate statutory language of § 15:1353 is

important. For example, subsection 1353(A) prohibits any person who “knowingly received any



104
        See 503 U.S. 258, 267–68 (1992).
105
        Id. at 266.
106
        Id. at 271 (quoting Assoc. Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459
        U.S. 519, 534 (1983)).
107
        Id. at 274 (alterations omitted) (quoting Assoc. Gen. Contractors, 459 U.S. at 545).
108
        Toress v. S.G.E. Mgmt., L.L.C., 838 F. 3d 629, 637 (5th Cir. 2016) (quotation marks partly omitted).
109
        Id. at 636.
110
        Molina-Aranda v. Black Magic Enters., LLC, 983 F.3d 779, 784 (5th Cir. 2020) (citing Anza v.
        Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006)).


                                                    19
      Case 3:21-cv-00242-WBV-SDJ                 Document 114-2       11/08/21 Page 26 of 30




proceeds derived . . . from a pattern of racketeering activity” from “us[ing] or invest[ing] . . . .

[those] proceeds [to] acqui[re] any title to, or any right, interest, or equity in immovable property

or in the establishment or operation of any enterprise.”111 So to pursue a right of action based on

subsection 1353(A), a plaintiff must allege injury directly resulting from a defendant’s “investment

or use of racketeering proceeds,” not the predicate acts of racketeering from which the income

flowed.112 “[A]lleging an injury solely from the predicate racketeering acts themselves is not

sufficient because [subsection] (a) does not prohibit those acts.”113 Similarly, subsection 1353(B)

prohibits any person from “knowingly . . . acquir[ing] or maintain[ing] . . . any interest in or control

of any enterprise or immovable property.”114 So a plaintiff’s injury must stem directly from the

defendant’s controlling the enterprise or property, which is different from damages stemming from

the predicate racketeering activity.115 The same is true for Subsection 1353(C), which prohibits a

person “associated with any enterprise [from] knowingly . . . . participat[ing] in . . . such enterprise

[by] racketeering.”116 It makes sense that the statute focuses on commercial activity because, like

antitrust laws that racketeering statutes are modeled on, racketeering statutes aim to criminalize

“unfair methods of competition.”117




111
       La. Stat. ¶ 15:1353(A) (emphasis added).
112
        See Davis-Lynch, Inc. v. Moreno, 667 F.3d 539, 550–51 (5th Cir. 2012) (“To establish a claim
        under § 1962(a), a plaintiff must show that its injuries resulted from the investment or use of
        racketeering proceeds. In other words, injuries resulting from predicate acts of ‘racketeering
        activity’ themselves cannot form the basis of an investment injury.”).
113
        N. Cypress Med. Ctr., 781 F.3d at 201.
114
       La. Stat. § 15:1353(B) (emphasis added).
115
        N. Cypress Med. Ctr., 781 F.3d at 202 (affirming dismissal because plaintiff could not show direct
        nexus between injuries and the defendant’s controlling the enterprise).
116
        La. Stat. § 15:1353(C).
117
        Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 457, 484 (2006) (emphasis in original removed and
        emphasis added).


                                                    20
      Case 3:21-cv-00242-WBV-SDJ              Document 114-2         11/08/21 Page 27 of 30




       It is thus incorrect for plaintiffs to say that none of their injuries must be tethered to business

or property.118 Their argument, premised only on the federal statute’s writing “business or

property” into its remedial provision, ignores the rest of that provision, specifically, and the overall

statutory text.   At least two federal district courts in the Fifth Circuit considering Louisiana

racketeering claims have reached the same conclusion. In Viking Construction Group, LLC v.

Satterfield & Pontikes Construction Group Inc., Judge Africk cited Supreme Court and Fifth

Circuit authorities holding “[a] RICO plaintiff only has standing if, and can only recover to the

extent that, he has been injured in his business or property by the conduct constituting the

violation.”119 Ultimately, Judge Africk dismissed the claims as untimely, and on “careful review

of the record, the parties’ briefs, and the district court’s ruling,” the Fifth Circuit affirmed.120 In

Cox, Cox, Filo, Camel & Wilson, LLC v. Sasol North America Inc., Western District Judge Minaldi

considered the injury-to-business-or-property requirement twice. First, finding plaintiffs “failed to

allege a single tangible injury to their ‘business or property’ proximately caused by any alleged

racketeering violation” and thus lacked “standing” to pursue a racketeering claim, Judge Minaldi

dismissed plaintiffs’ state racketeering claims under Rule 12(b)(1), rather than Rule 12(b)(6).121

On appeal, the Fifth Circuit vacated Judge Minaldi’s dismissal because “whether plaintiff stated a

claim under Louisiana’s Racketeering Act [is] a Rule 12(b)(6) question,” not an “Article III

standing” issue for dismissal under Rule 12(b)(1).122 The Fifth Circuit found no error in Judge



118
       See generally Crowe v. Henry, 43 F.3d 198, 203–04 (5th Cir. 1995) (noting that, when “[re]duced
       to their simplest terms,” RICO’s subsections are all connected to a business enterprise).
119
       No. CV 17-12838, 2018 WL 401182, at *4 n.17 (E.D. La. Jan. 12, 2018) (Africk J.) (quoting
       Sedina, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985); Landry v. Airline Pilots Ass’n Int’l AFL-
       CIO, 892 F.2d 1238, 1260–61 (5th Cir. 1990)), aff’d, 728 F. App’x 405 (5th Cir. 2018).
120
       728 F. App’x at 406.
121
       No. 11-0856, 2012 WL 4960389, at *2 (W.D. La. Oct. 16, 2012).
122
       Cox, Cox, Filo, Camel & Wilson, LLC v. Sasol N. Am., Inc., 544 F. App’x 455, 457 (5th Cir. 2013).


                                                  21
      Case 3:21-cv-00242-WBV-SDJ               Document 114-2          11/08/21 Page 28 of 30




Minaldi’s substantive analysis.123 On remand, Judge Minaldi again ruled that, because the

plaintiff’s alleged injury “would require ‘extensive speculation’ rather than ‘the calculation of

present, actual damages,’” in violation of Fifth Circuit law, the plaintiff “has not alleged a concrete

financial loss which would confer RICO standing” under the Louisiana Racketeering Act.124

       There should be no dispute that plaintiffs’ injuries are not commercial, economic injuries

since they dismissed their federal racketeering claim for imposing that requirement.125 In any

event, the Supreme Court, Fifth Circuit, and other federal circuits agree that personal injuries,

emotional distress,126 medical expenses,127 loss of reputation,128 lost income or benefits,129 and lost

employment opportunities130 are not cognizable injuries for a racketeering claims.131 Plaintiffs’

claimed injuries are no different; thus, their racketeering claim should be dismissed.



123
       See id.
124
       No. 11-0856, 2013 WL 4516007, at *3 (W.D. La. Aug. 22, 2013).
125
       See generally R. Doc. 67.
126
       E.g., Bast v. Cohen, Dunn & Sinclair, PC, 59 F.3d 492, 495 (4th Cir. 1995) (“An allegation of
       personal injury and pecuniary losses occurring [from mental anguish] are not sufficient to meet the
       statutory requirement of injury to ‘business or property.’”).
127
       E.g., Gucwa v. Lawley, 731 F. App’x 408, 412 (6th Cir. 2018) (“Even though personal injuries may
       lead to monetary damages, such personal injuries and their associated pecuniary losses—including
       medical expenses—do not confer relief under § 1964(c).”).
128
       E.g., Hamm v. Rhone-Poulenc Rorer Pharms., Inc., 187 F.3d 941, 954 (8th Cir. 1999) (“Damage
       to reputation is generally considered personal injury and thus is not an injury to ‘business or
       property’ within the meaning of 18 U.S.C. § 1964(c).”).
129
       E.g., Doe v. Roe, 958 F.2d 763, 770 (7th Cir. 1992) (“Doe’s loss of earnings . . . are plainly
       derivatives of her emotional distress—and therefore reflect personal injuries which are not
       compensable under RICO.”).
130
       E.g., Grogan v. Platt, 835 F.2d 844, 848 (11th Cir. 1988) (holding RICO plaintiffs cannot recover
       for lost employment opportunities when they are “most properly understood as part of a personal
       injury claim”).
131
       See generally Haw. v. Standard Oil Co. of Cal., 405 U.S. 251, 264 (1972) (applying the Clayton
       Act and interpreting the phrase “business or property” to require the plaintiff’s injury to “refer to
       commercial interests or enterprises”); Reiter v. Sonotone Corp., 442 U.S. 330, 339 (1979) (applying
       the Clayton Act and interpreting the phrase “business or property” to exclude “personal injuries
       suffered”); Hughes v. Tobacco Inst., Inc., 278 F.3d 417, 422 (5th Cir. 2001) (“Because the only


                                                   22
         Case 3:21-cv-00242-WBV-SDJ                Document 114-2          11/08/21 Page 29 of 30




IV.     Plaintiffs’ claims based on predicate acts before April 26, 2016, and Sarah Beth Kitch’s
        individual claim are prescribed.

           Plaintiffs contend that all the alleged predicate acts began in 2009. But any racketeering

  claims that accrued before April 26, 2016, are prescribed.132 Plaintiffs cannot use an independent

  predicate act inside the limitations period to “bootstrap to recover for injuries caused by other

  earlier predicate acts that took place outside the limitations period.”133 The Fifth Circuit allows a

  plaintiff to recover only “for racketeering injuries discovered or discoverable within the limitations

  period.”134 Thus, any claims premised on conduct before April 2016 must be dismissed.

           For the same reason, Sarah Beth Kitch’s racketeering claim must be dismissed entirely.

  Kitch alleges injuries from LSU’s Title IX failures while she was a Ph.D. student before she

  graduated and left in 2014.135 There is no dispute Kitch had “knowledge or constructive knowledge

  of the injury giving rise to [her racketeering claim],” which triggers prescription,136 because she

  alleges “this [graduate program] environment” caused her “severe health problems, including . . .

  panic attacks, persistent feelings of dread and despair, a sense of worthlessness, and feelings of

  intense shame and humiliation.”137 After graduating LSU—again, six years before this lawsuit—

  Kitch suffered “triggering flashbacks” to her harassment, which interfered with her work and

  career.138 It’s Kitch’s knowledge of these injuries—no matter if she knew the “other elements of a




           damages asserted . . . are for personal injuries, the district court’s judgment on the pleadings . . .
           was proper.”).
  132
           La. Stat. § 15:1356(H).
  133
           Viking Constr. Grp., 2018 WL 401182, at *3.
  134
           Id. (collecting cases).
  135
           R. Doc. 22 at ¶¶ 340, 346.
  136
           Farmer, 640 F. App'x at 304 n.3.
  137
           R. Doc. 22 at ¶ 343.
  138
           Id. at ¶¶ 346–47.


                                                        23
      Case 3:21-cv-00242-WBV-SDJ             Document 114-2        11/08/21 Page 30 of 30




[racketeering claim]”—that “starts the limitations period running.”139 The harassment and “daily

fear of sexual assault” Kitch alleges was enough to identify potential defendants and call for further

inquiry about her potential claims, meaning her claims prescribed years ago.140

                                          CONCLUSION

       Plaintiffs’ Louisiana Racketeering Act claims must be dismissed. They fail to allege any

legitimate underlying racketeering activity—let alone criminal conduct by TAF. Plaintiffs also

fail to validly allege a “pattern” of racketeering or that they suffered injuries cognizable under

Supreme Court and Fifth Circuit precedent. Finally, many of plaintiffs’ racketeering claims are

prescribed. For all these reasons, the court should grant this motion and dismiss plaintiffs’

racketeering claims against TAF.

                                                      Respectfully submitted,

                                                          /s/ Chloé M. Chetta
                                                      Judy Y. Barrasso, 02814
                                                      Laurence D. LeSueur, Jr., 35206
                                                      Chloé M. Chetta, 37070
                                                      Lance W. Waters, 37351
                                                      BARRASSO USDIN KUPPERMAN
                                                        FREEMAN & SARVER, L.L.C.
                                                      909 Poydras Street, Suite 2350
                                                      New Orleans, LA 70112
                                                      Telephone: (504) 589-9700
                                                      jbarrasso@barrassousdin.com
                                                      llesueur@barrassousdin.com
                                                      cchetta@barrassousdin.com
                                                      lwaters@barrassousdin.com

                                                      Counsel for Defendant Tiger Athletic
                                                      Foundation




139
       See Joseph v. Bach & Wasserman, L.L.C., 487 F. App'x 173, 176 (5th Cir. 2012); Ames v. Ohle, 97
       So. 3d 386, 394 (La. App. 4th Cir. 2012) (“[P]rescription begins to run once there has been a
       determination that damage was sustained.”).
140
       R. Doc. 22 at ¶ 343.


                                                 24
